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~AO   245D              (Rev. 12/07) Judgment in a Criminal Case for Revocations
                        Sheet 1



                                                                 UNITED STATES DISTRICT COURT
                                                                              Central District of Utah
        UNITED STATES OF AMERICA                                                              Judgment in a Criminal Case
                                                   v.                                         (For Revocation of Probation or Supervised Release)


                                Paul Andrew Memmott                                           Case No.         DUTX 2:08CR00856-001 TC
                                                                                              USMNo.           16055-081
                                                                                                                        Scott Williams
                                                                                                                      Defendant's Attorney
THE DEFENDANT:
./ admitted guilt to violation of condition(s)                              All 5 allegations in Petition     of the term of supervision.
D was found in violation ofcondition(s)          - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number .                                   Nature of Violation                                                           Violation Ended
            1.             On or about February 7, 2013, the defendant viewed, accessed, or
                           possessed sexually explicit materials.
         2.                During the months of June 2013 through September 2013, the defendant
                           failed to attend sex-offender treatment, as directed by the U.S. Probation
                           Office. The defendant failed to appear for seven scheduled treatment
                           sessions on the following dates: June 3, 2013, June 10,2013, July 1,
                           2013, July 8, 2013, July 15,2013, July 23,2013, and July 29,2013.
       The defendant is sentenced as provided in pages 2 through         5       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s) ._ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 2881

Defendant's Year ofBirth:                                   1983

City and State of Defendant's Residence:
                Salt Lake City, UT 84119
                                                                                                   Tena Campbell, United States District Court Judge
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                                                                                                                     Name and Title of Judge




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               Sheet !A

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DEFENDANT:                    Paul Andrew Memmott
CASE NUMBER:                  DUTX 2:08CR00856-001 TC

                                                          ADDITIONAL VIOLATIONS

                                                                                                                              Violation
Violation Number                   Nature of Violation                                                                        Concluded
      3.                           The defendant failed to reside at the Residential Reentry Center (RRC), as he
                                   absconded on September 16, 2013, and his whereabouts are currently unknown,
                                   in violation of the rules and regulations of the RRC.
          4.                       The defendant failed to notify his probation officer ten days prior to a change in
                                   employment. On or about September 16, 2013, the defendant discontinued
                                   his employment without notifying his assigned probation officer.
          5.                       On or about September 16,2013, the defendant left the judicial district of Utah
                                   without permission of the Court or the U.S. Probation Office.
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AO 245D       (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sheet 2- Imprisonment
                                                                                               Judgment- Page _.;;:..3_   of
DEFENDANT:                     Paul Andrew Memmott
CASE NUMBER:                   DUTX 2:08CR00856 TC


                                                                 IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
total term of :

7 months




     ,/ The court makes the following recommendations to the Bureau of Prisons:




     D The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
          D     at   - - - - - - - - - D a.m.                      D p.m.    on
          D     as notified by the United States Marshal.

     0    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D     before 2 p.m. on
          D     as notified by the United States Marshal.
          D     as notified by the Probation or Pretrial Services Office.

                                                                         RETURN

I have executed this judgment as follows:




          Defendant delivered on                                                    to

at   - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                            UNITED STATES MARSHAL


                                                                            By
                                                                                         DEPUTY UNITED STATES MARSHAL
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AO 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations
            Sheet 3 - Supervised Release
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DEFENDANT:                 Paul Andrew Memmott
CASE NUMBER:               DUTX 2:008CR00856-001 TC
                                                SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of:
120 months


         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau ofPrisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an)' unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter as determined by the court.
D     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
./    The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
./    The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
./    The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
      or is a student, as directed by the probation officer. (Check, if applicable.)
D     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
with the Schedule ofPayments sheet ofthisjudgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
          five days of each month;
3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
          officer;
4)        the defendant shall support his or her dependents and meet other family responsibilities;
5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
          or other acceptable reasons;
6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)        the defendant shall refi·ain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
          convicted of a felony, unless granted permission to do so by the probation officer;
10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
          confiscation of any contraband observed in plain view of the probation officer;                      .
11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
          enforcement officer;
12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
          without the permission of the court; and
13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
          defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
          notifications and to confirm the defendant's compliance with such notificatiOn requirement.
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            Sheet 3C- Supervised Release
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                                            SPECIAL CONDITIONS OF SUPERVISION


1.        All previously imposed special conditions are reimposed.
